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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

ROANOKE DIVISION
UNITED STATES OF AMERICA )
Sy Case No. 7:97-CR-00051
v. )
)
RONALD LEE JONES, ) By: Hon, Michael F. Urbanski
Defendant ) Chief United States District Judge

MEMORANDUM OPINION

Defendant Ronald Lee Jones, represented by counsel, filed a motion to reduce his
sentence pursuant to the First Step Act of 2018, Pub. L. No. 115-015. ECF No. 239. He asks
that his sentence be reduced from 360 months to time setved or, alternatively, to 324 months.
The government does not contest that Jones is eligible for consideration of a reduction of his
sentence but argues that the court should decline to exercise its discretion to reduce his
sentence because Jones did not face a harsher sentence in 1998 than he would face if he were
sentenced today, and also because of his criminal history. Resp., ECF No. 245. Having
considered the arguments of the parties, the court will GRANT Jones’ motion and modify his
sentence to time served.

BACKGROUND

On May 20, 1997, Jones was charged with conspiracy to possess with intent to .
distribute powder cocaine and cocaine base beginning in 1994 and continuing until late in 1995
(Count 1), conspiracy to import cocaine into the United States beginning in April 1995 and
continuing until December 1995 (Count 2), distributing cocaine base on July 22, 1994 (Count

4), and possession of a firearm by a convicted felon on August 14, 1995 (Counts 6 and 7).
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Indictment, ECF No. 13; Presentence Report (“PSR”) J] 1, ECF No. 248 at 4. The government
also sought enhancement of Jones’ sentence under 21 U.S.C. § 851. ECF No. 85. Jones was
tried by a jury, and on November 19, 1997, the jury returned a verdict finding him guilty on
all Counts. Jury Verdict, ECF No. 112.

When Jones was sentenced in 1998, the statutory sentencing range for Count 1 was 20
yeats to life pursuant to 21 U.S.C. § 841(b)(1)(A); the statutory range for Count 2 was 10 years
to life pursuant to 21 U.S.C. § 960(b)(2)(B); the statutory maximum for Count 4 was 30 years
pursuant to 21 U.S.C. § 841(6)(1)(O); and the statutory minimum for Counts 6 and 7 was 15
yeats pursuant to 18 U.S.C. § 924(e)(1). PSR {| 79, ECF No. 248 at 16. According to the PSR,
his guideline sentencing range was 360 months life. That calculation was based on a total drug
weight of 44.41 kilograms of cocaine, which gave him a base offense level of 34. He received
' 4 points for being a leader of the criminal activity for a total of 38 points. He had a ctiminal
history of VI, resulting in a guidelines range of 360 months to life. PSR at 45, ECF No. 248
at 9-13.

Notwithstanding the total drug weight described in the PSR, at sentencing, the court
attributed 10 kilograms of cocaine to the defendants. Sent. Tr., ECF No. 149-1 at 35. Based
on the drug quantity, the court found that Jones’ base offense level was 32, enhanced to 36
for his role in the offense. The court also found Jones to be a cateer offender, which brought
his total offense level to 37.1 With a criminal history category of VI, Jones’ sentencing range

was 360 months to life. Id. at 36.

 

1 Jones was determined to be a career offender based on a 1978 federal conviction for armed robbery in the

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On March 20, 1998, Jones was sentenced to 360 months each for Counts 1 and 2; 24
months for Count 4; and 180 months each for Counts 6 and 7, all running concurrently with
one another. The 360-month sentence was mandatory under the guidelines at that time. Jones
had previously been convicted in two cases in the Basten District of Virginia for related
conduct, and his 360-month sentence in the present matter was slated to run consecutively to

| the 60-month sentence for the firearm offense but concurrently with the 343-month and 262-
month sentences assessed on his drug charges in the Eastern District cases. See United States
v. Jones, No. 1:96cr00191 (E.D. Va. filed Mar. 13, 1996) and United States v. Jones,
1:97cr00109 (B.D. Va. filed Mar. 13, 1997). Ultimately, Jones received a sentence of an
aggregate 420 months for his two convictions in the Eastern District of Virginia and his
conviction in this district. Jones has served approximately 289 months in prison on the instant
case.

ANALYSIS
I. The First Step Act

The First Step Act is a remedial statute “intended to correct earlier statutes’ significant
disparities in the treatment of cocaine base (also known as crack cocaine) as compated to.
powder cocaine.” United States v. Wirsing, 943 F.3d 175, 176-177 (4th Cir. 2019). Prior to
passage of the Fair Sentencing Act, a drug trafficker dealing in crack cocaine was subject to

the same sentence as a trafficker dealing 100 times more powder cocaine. Kimbrough v.

 

Western District of Virginia, a 1981 conviction for malicious wounding in Roanoke City Circuit Court, and a
1986 federal conviction for possession with intent to distribute cocaine in the Western District of Virginia.
PSR ¥ 45, ECF No. 248 at 8.

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United States, 552 U.S. 85, 91 (2007). The sentencing scheme had a racially disparate impact
that tesulted in excessive and unwatranted punishments that disproportionately fell on
defendants of color. Wirsing, 943 F.3d at 177-78 (internal citations omitted). The Fair
Sentencing Act reduced the crack-to-powder ratio to 18-to-1 and eliminated the mandatory
minimum sentence for simple possession of crack. Id. at 178.

The Fair Sentencing Act did not apply retroactively to defendants who were sentenced
before its passage on August 3, 2010, unless they could bring a motion under the narrow
exception provided in 18 U.S.C. § 3582(c)(2). Id. at 178-79 (citing United States v. Black, 737
F.3d 280, 282, 286-87 (4th Cir. 2013)). After passage of the Fair Sentencing Act, the United
States Sentencing Commission amended the guidelines to lower the base offense levels
assigned to some drugs (Amendments 750 and 782) and provided that the amendments
applied retroactively. Id. at 179 (citations omitted). The amendments allowed some defendants
sentenced before August 3, 2010 to seek relief, not directly under the Fair Sentencing Act, but
by means of a § 3582(c)(2) motion related to one of the amendments. Nevertheless, a
reduction under § 3582(c)(2) only applied if the amendments had the effect of lowering the
defendant’s applicable guideline range. Id. The amendments did not operate to lower the
sentences for defendants convicted of very large quantities of crack, ot those whose sentences

- were driven not by the quantity of drugs involved, but by their status as a career offender. Id.

The First Step “Act allows defendants sentenced prior to August 3, 2010, and who were

ineligible for relief under the guideline amendments, to seek a reduction in their sentences as

if sections 2 and 3 of the Fair Sentencing Act of 2010 were in effect at the time the covered
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offense was committed. First Step Act § 404(b), 132 Stat. at 5222. A “covered offense” is a
“violation of a Federal criminal statute, the statutory penalties for which were modified by
section 2 or 3 of the Fair Sentencing Act of 2010, that was committed before August 3, 2010.”
Id. at § 404(a), 132 Stat. at 5222. Courts have discretion to lower or not lower a sentence even
when a defendant is eligible for a sentence reduction. Id. at 404(c), 132 Stat. at 5222.

In United States v. Collington, 995 F.3d 347 (4th Cir. 2021), the court discussed the
interplay between section 404 of the First Step Act and 18 U.S.C. § 3582(c). The court
explained that while sentence modifications under § 3582(c)(2) are limited in scope and allow
defendants to receive only the benefit of a guidelines amendment, modifications under the
First Step Act are brought under § 3582(c)(1)(B), which allows courts to “impose” a new
sentence. Collington, 995 F.3d at 353-354. The court had previously held that when imposing
a sentence under section 404 of the First Step Act, the court must recalculate the guidelines
sentence and correct any guidelines error. United States v. Chambers, 956 F.3d 667, 668, 672-
74 (4th Cir. 2020). |

Accordingly, we both allow and require more of a sentencing judge in the First
Step Act context than the § 3582(c)(2) context. First, district courts must
accurately recalculate the Guidelines sentence range. Compare Chambers, 956
F.3d at 672, with [Dillon v. United States, 560 U.S. at 817, 821, 130 S.Ct. 2683
(2010)] (holding that a district court may only “substitute the amended
Guideline range” in § 3582(c)(2) proceedings). Second, and relatedly, district
coutts must correct original Guidelines errors and apply intervening case law
made retroactive to the original sentence. Compare Chambers, 956 F.3d at 672—
74, with Dillon, 560 U.S. at 831, 130 S.Ct. 2683 (holding that district courts lack
the discretion to correct errors unaffected by a Guidelines amendment). Third,
the court must consider the § 3553(a) factors to determine what sentence is
appropriate. See Chambers, 956 F.3d at 674. Unlike sentence modification
proceedings under § 3582(c)(2)—-which limit use of the § 3553(a) factors to
determining simply whether to reduce a sentence to within a predetermined

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tange—we permit courts to use the § 3553(a) factors to more comprehensively

shape sentencing decisions and even depart downward from the new Guidelines

range. Compare id., with Dillon, 560 U'S. at 830, 130 S.Ct. 2683.

Collington, 995 F.3d at 355 (emphasis in atiginal)

The court clatified that although defendants are not entitled to plenary resentencings
under the First Step Act, courts should make a holistic resentencing determination,
considering the 18 U.S.C. § 3553(a) factors “to make substantially more’ robust resentencing
decisions than in § 3582(c) (2) proceedings.” Collington, 995 F.3d at 356. Also, while courts
have discretion in granting relief under the First Step Act, a court abuses its discretion if it
leaves in place a sentence that exceeds the statutory maximum established by the Fair
Sentencing Act. Id. In addition, when a court exercises its discretion, First Step Act
resentencing decisions must be ptocedutally and substantively reasonable. Id. at 358.

In United States v. Lancaster, 997 F.3d 171, 174 (4th Cir. 2021), the court summed up
the evolution of the application of the First Step Act in the Fourth Circuit. A district court
presented with a First Step Act motion must first determine whether the sentence is eligible
for consideration on the merits. Id. The sentence under consideration must be a “covered
offense” under section 404(a) of the First Step Act. Id. Covered offenses include violations
under 21 U.S.C. §§ 841(b)(1)(A) Git), (b) (1) (B) iit), and (b)(1)(C). Id. (citations omitted). Second,
the motion must be addressed to the court that imposed the sentence. Id. (citations omitted).
Third, the sentence must not have been previously imposed or previously reduced under the

First Step Act. Id. at 174-175 (citations omitted). If a court determines that a sentence qualifies
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for review on the merits, the court has discretion to impose a sentence as if the Fair Sentencing
Act were in effect at the time the covered offense was committed. Id. at 175.

To determine the sentence that would have been imposed had the Fair Sentencing Act
been in effect, the court engages in a brief analysis that involves recalculating the sentencing
guidelines in light of intervening case law and conducts a brief reconsideration of the factors
set forth in 18 U.S.C. § 3553(a). In conducting the § 3553(a) analysis, the court may take into
account the defendant’s conduct after sentencing. Id.

[T]he analysis is not intended to be a complete or new telitigation of Guidelines

issues ot the § 3553(a) factors. Rather, the scope of the analysis is defined by

the gaps left from the original sentence to enable the court to determine what

sentence it would have imposed under the Fair Sentencing Act in light of

intervening circumstances. If, after conducting the analysis, the court

determines that the sentence would not be reduced, then no relief under the
“First Step Act is indicated.

Jones was convicted of counts involving both cocaine base and powder cocaine. In
United States v. Gravatt, 953 F.3d 258, 264 (4th Cir. 2020), the Fourth Circuit held that when
a defendant is charged conjunctively with conspiring to distribute both powder cocaine and
crack cocaine, he is convicted of a “covered offense” under Section 404(a) of the First Step
Act. Thus, Jones is eligible for sentence modification under the First Step Act.

II. Available Relief |

Having found that Jones is eligible for relief, the court must now consider what relief,

if any, should be granted. The court will recalculate the sentencing guidelines in light of
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intervening case law before considering the § 3553 factors. Lancaster, 997 F.3d at 175;
Collington, 995 F.3d at 355.

A. Guidelines Range

Amendment 782 reduced by two levels the base offense levels assigned to many drug
quantities under USSG §§ 2D1.1. United States v. Bornales, 639 F. App’x 169, 170 (4th Cir.
2016). Jones asserts that Amendment 782 lowered the base offense level for his drug quantities
from 36 to 32. With the 4-point enhancement for being an organizer, his total offense level
would be 36. Coupled with his criminal history of VI, his guideline range would be 324-405
months. USSG Ch. 5 Pt. A.

Jones bases his calculation on the drug quantities in the PSR, which stated that Jones
was responsible for 44.41 kilograms of powder cocaine, including the cocaine involved in the
Eastern District of Virginia cases. PSR J] 20, ECF No.248 at 7. However, notwithstanding the
information in the PSR, the court found that Jones was responsible for 10 kilograms of powder
cocaine which gave him a base offense level of 32 at the time he was sentenced, Sent. Tr., ECF
No. 149 at 35, and would have resulted in a base offense level of 30 under Amendment 782.
With a base offense level of 30, increased by 4 points for his role in the offense to 34, Jones’
guideline range would be 262-327 months.

- The government responds that Amendment 782 does not serve to reduce the sentence
of career offenders like Jones, citing in support USSG § 1B1.10(a)(2)(B). That section provides
that a reduction in the defendant’s term of imprisonment is not authorized under 18 U.S.C. §

3582(c)(2) if the amendment does not have the effect of lowering the defendant’s guideline
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range. The commentary to the section explains that a reduction may not be applicable because
of the operation of another guideline or statutory provision, such as a statutory mandatory

minimum term of imprisonment. USSG § 1B1.10(a)(2)(B), App. Note 1. See also United States

 

v. France, 637 F. App’x 733, 734 (4th Cir. 2016) (per curiam) (“[a] district court lacks the
authority to grant a § 3582(c)(2) motion if the defendant seeking the reduction was sentenced
pursuant to the career offender Guideline.”) However, as explained below, recalculating Jones’
guideline sentence as if the Fair Sentencing Act wete in effect at the time he was sentenced
and taking into account intervening case law results in a total offense level of 34.

The court sentenced Jones based on his status as a career offender, finding his total
offense level to be 37. An offense level of 37 under § 4B1.1 results when the defendant is
found to be a career offender based on prior convictions and is subject to an offense statutory
maximum sentence of life. See USSG § 4B1.1(a) and (b)(1). If the offense statutory maximum
sentence is 25 years or mote, but less than life, the offense level is 34. USSG § 4B1.1(b)(2).

After the First Step Act, Jones’ offense level based on his career offender status would
be 34, because the indictment did not allege a drug weight for any of his offenses, and therefore
they would fall under 21 U.S.C. § 841(b)(1)(C). Under the First Step Act, “a defendant cannot
be resentenced under a statute carrying a mandatory minimum sentence when he or she was
not indicted for any particular drug quantity and the jury was never required to make a finding
that would support the application of a mandatory minimum.” David Jones v. United States,
431 F.Supp.3d 740, 751 (E.D. Va. 2020). In such situations, defendants must be resentenced

for an unspecified drug quantity pursuant to § 841(b)(1)(C), which carries a maximum
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for an unspecified drug quantity pursuant to § 841(b)(1)(C), which carries a maximum
sentencing tange of 20 years. Id. See also Collington, 995 F.3d at 356 (holding that a district
coutt abuses its discretion if it lets stand a sentence that exceeds the statutory maximum
established by the Fair Sentencing Act). The § 851 enhancement would elevate the statutory
maximum for each to 30 years.? 21 U.S.C. § 841(b)(1)(O). |

With a maximum sentence of 30 years rather than life, Jones’ offense level based on
his status as a career offender would be 34 instead of 37. USSG §4B1.1(b) (2). With a ctiminal
history category of VI, his guidelines range would be 262-327 months, which is the same as
his sentence based on drug weight. USSG Ch. 5 pt. A. Thus, the court concludes that Jones’
guideline range is 262-327 months.

B. 18 U.S.C. § 3553(a)

The court previously assessed the 18 U:S.C. § 3553(a)> factors as they apply to Jones in

~ its August 10, 2020 Memorandum Opinion denying Jones’ request for compassionate release

and determined that the factors weighed against release. ECF No. 236. However, before
assessing the § 3553(a) factors as they related to that motion, the court had determined that
Jones’s did not present extraordinary and compelling reasons to justify a sentence reduction.

The § 3553(a) analysis that followed was offered in the alternative and did not thoroughly

 

2 Also, after United States v. Norman, 935 F.3d 232, 237-39 (4th Cir. 2019), conspiracy convictions cannot
support an enhanced sentence as a career offender because they are not categorically controlled substance
offenses under the guidelines. Lancaster, 997 F.3d at 176 (citing Norman, 935 F.3d at 237-39 and United States
v. Whitley, 737 F-App’x 147 (4th Cir. 2018) (per curiam)). In Jones’ case, both Count 1 and Count 2 were
conspiracy offenses. Therefore, neither would count for purposes of defining Jones as a career offender under
the guidelines. USSG §4B1.1(a).

3 Section 3582(c)(1) directs the court to consider the factors set forth in 18 U.S.C. § 3553(a); United States v.
Chambers, 956 F.3d 667, 674 (4th Cur. 2020).

 

 

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address Jones’ post-conviction behavior and activities while he has been incarcerated. Mindful

of the Collington court’s admonition that courts should make a holistic resentencing

determination, and that a resentencing under the First Step Act must be procedurally and

substantively reasonable, Collington, 995 F.3d at 355, 358, the court will undertake a thorough

review of the § 3553(a) factors as they apply to Jones. |
The factors include the following:

(1) the nature and circumstances of the offense and the history and
characteristics of the defendant;

(2) the need for the sentence imposed—

(A) to reflect the seriousness of the offense, to promote respect for the law, and
to provide just punishment for the offense;

(B) to afford adequate deterrence to criminal conduct;
(©) to protect the public from further crimes of the defendant; and

(D) to provide the defendant with needed educational or vocational training,
medical care, ot other correctional treatment in the most effective manner;

(3) the kinds of sentences available;
(4) the kinds of sentence and the sentencing range established for—

(A) the applicable category of offense committed by the applicable category of
defendant as set forth in the guidelines—

(i) issued by the Sentencing Commission pursuant to section 994(a)(1) of title
28, United States Code, subject to any amendments made to such guidelines by
act of Congress (regardless of whether such amendments have yet to be

incorporated by the Sentencing Commission into amendments issued under
section 994(p) of title 28); and

(ii) that, except as provided in section 3742(g), ate in effect on the date the
defendant is sentenced; .

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Turning first to the nature and circumstances of the offense, the court notes that Jones
was involved in an extensive drug distribution enterprise and that he possessed more than one
firearm despite his status as a previously convicted felon. The conspiracy was sophisticated
and was tun from Jones’ and his brother’s car care business. On at least three occasions they
imported cocaine from Jamaica, and Jones recruited friends to assist in the illegal business.
The conspiracy lasted from January 1994, at the latest, until August 1995. Jones was found to
be an organizer and leader of the conspiracy that involved more than five participants. Given
the size of the conspiracy and Jones’ role it in, the nature and circumstances of the offense
weigh against reducing Jones’ sentence.*

Looking next at the history and characteristics of the defendant, at the time Jones was
convicted and sentenced, he had a long history of criminal behavior, starting at the age of 21
and continuing until he was incarcerated on the instant conviction and the convictions out of
the Eastern District of Virginia at the age of 42. Jones had multiple convictions for assault, as
well as convictions for brandishing a firearm, armed bank robbery, malicious wounding, and

possession with intent to distribute cocaine. PSR {] 49-54, ECF No. 248 at 9-10.

 

4 In addition, the government argues that neither the Fair Sentencing Act nor the First Step Act reduced
penalties for powder cocaine and that the PSR established that Jones was responsible for 31.2 kilograms of
powder cocaine and 48 grams of cocaine base. The government makes the point that because of the powder
cocaine, Jones would not face a lower statutory penalty if he were sentenced today and argues that the Fair
Sentencing Act did not amend the penalties for powder cocaine. However, as discussed above, the court found
Jones responsible for 10 kilograms of powder cocaine, rather than 31.2 kilograms. In any event, Gravatt made
clear that persons convicted of mixed-object conspiracies are eligible for sentence reductions under the First
Step Act. And Covington and Lancaster have made clear that once a petitioner is found eligible, the court
should conduct a holistic resentencing determination, including applying revisions to the guidelines, intervening
changes in case law, and considering the defendant’s post-conviction behavior and activities.

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While Jones undoubtedly was a dangerous young man, he is now 66 years old and has
spent 24 years incarcerated on the instant conviction. While incarcerated, he has earned his
GED and taken more than 30 courses offered by the Bureau of Prisons (BOP). He currently
works as a Housekeeping Aide Apprentice. The disciplinary record provided by Jones shows
one sanctioned incident of possessing a hazardous tool in 2017. ECF No. 239-2. Jones
volunteered on suicide watch from 2001 to 2007 and has mentored younget inmates. His
security classification is “low,” and he has a “low risk récidivism level.” ECF 239-3. Jones
assetts that when released he will live with his former wife who is still his longtime partner. In
addition, he has several siblings who have indicated they will be supportive of him and he has
multiple opportunities for work upon release. Notwithstanding evidence that Jones was a
dangerous man in his twenties through his early forties, the court finds that his current age,
his minor disciplinary record, and his family support indicate that he has matured and grown
while incarcerated. His more recent history and the characteristics he displays today weigh in
favor of reducing his sentence.

Turning to the next two factors, the need for the sentence to reflect the seriousness of
the offense, to promote respect for the law, to provide just punishment for the offense, and
to afford adequate deterrence to criminal conduct, the court finds that the 24 years Jones has
setved is sufficient to accomplish these goals. Given Jones’ record in prison thus far, it is
unclear that spending another 6 years in prison will have any additional benefit to Jones or the

community.

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Regarding the next two factors, the court finds that Jones’ age and disciplinary record
indicate that he is unlikely to commit further crimes. In addition, if released he will serve a
term of supervised release and will have to report to a United States Probation Officer, which
will offer further incentive for Jones to refrain from criminal conduct. The court does not find
that serving the remainder of his 30-year sentence will provide Jones with needed educational
or vocational training, medical care, or other correctional treatment in the most effective
mannet. |

Jones argues that the need to avoid sentencing disparities also weighs in favor of
reducing his sentence. All of his co-defendants were released from prison years ago. The
defendant with the next longest sentence was sentenced to 168 months and has been out of
prison for almost 9 years. However, Jones had a more extensive criminal history than his co-
defendants and was considered the leader of the conspiracy and it is presumed that the court
took those factors into consideration at sentencing. Accordingly, no weight is accorded to the
fact that Jones’ sentence was mote than twice as long as any other co-defendant.

The court finds that factors discussed above, when considered along with the fact that
if Jones were sentenced today his guidelines range would be 262-327 months, support the
conclusion that Jones’s sentence should be reduced to time served. Jones already has served
289 months, which is 27 months longer than the bottom of his current guidelines sentence.
The court believes that a sentence of time served is consistent with the policy and concerns

addressed by the First Step Act and is sufficient, but not greater than necessary, to meet the

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sentencing goals of punishment, deterrence, protection of the public, and rehabilitation
undergieding 18 U.S.C. § 3553(a).
. CONCLUSION

The court: finds that a sentence of time served is sufficient, but not greater than
necessaty, and accounts for the sentencing factors the court must consider pursuant to 18
U.S.C. § 3553(a), specifically deterrence, protection:of the public, and respect for the law.
Accordingly, the court GRANTS Jones’ motion under the First Step Act, ECF No. 239, and
modifies his sentence to time served.

An appropriate Order will be entered.

It is so ORDERED.

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Michael F. Urbanski
Chief United States District Judge

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